 Case 4:20-cr-00269-Y Document 37 Filed 08/23/21   Page 1 of 25 PageID 325


                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

UNITED STATES OF AMERICA

v.                                      No.    4:20-CR-269-Y

ERIC PRESCOTT KAY



      GOVERNMENT’S MOTION TO COMPEL PRODUCTION OF
     MATERIALS AND INFORMATION DEMANDED BY SUBPOENA

                                        Respectfully submitted,

                                        PRERAK SHAH
                                        Acting United States Attorney


                                        s/ Lindsey Beran
                                        LINDSEY BERAN
                                        Assistant United States Attorney
                                        Texas State Bar No. 24051767
                                        1100 Commerce Street, Third Floor
                                        Dallas, Texas 75242-1699
                                        Telephone: 214-659-8600
                                        Facsimile: 214-659-8805
                                        Email: Lindsey.Beran@usdoj.gov

                                        s/ Errin Martin
                                        ERRIN MARTIN
                                        Assistant United States Attorney
                                        Texas State Bar No. 24032572
                                        1100 Commerce Street, Third Floor
                                        Dallas, Texas 75242-1699
                                        Telephone: 214-659-8600
                                        Facsimile: 214-659-8805
                                        Email: Errin.Martin@usdoj.gov
Case 4:20-cr-00269-Y Document 37 Filed 08/23/21   Page 2 of 25 PageID 326



                                       s/ Jonathan Bradshaw
                                       Jonathan Bradshaw
                                       Assistant United States Attorney
                                       Colorado Bar No. 43838
                                       1100 Commerce Street, Third Floor
                                       Dallas, Texas 75242
                                       Telephone: (214) 659-8600
                                       E-mail: jonathan.bradshaw@usdoj.gov
   Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                                       Page 3 of 25 PageID 327


                                             TABLE OF CONTENTS

TABLE OF AUTHORITIES .............................................................................................. iii

GOVERNMENT’S MOTION TO COMPEL PRODUCTION OF MATERIALS AND
INFORMATION DEMANDED BY SUBPOENA ............................................................ 1

         1.        The United States subpoenas the Angels to produce documents at the trial
                   of Eric Kay. ................................................................................................... 2

         2.        The Angels stall before ultimately refusing to comply with the subpoena. .. 3

ARGUMENT AND AUTHORITIES ................................................................................. 6

         1.        The government can easily carry its burden under Rule 17. ......................... 6

         2.        The Angels have misplaced their reliance on the attorney-client privilege,
                   which the Angels have likely waived in any event. ...................................... 7

                   A.        To the extent that the Angels assert the attorney-client privilege, this
                             Court should find that the Angels waived it....................................... 8

                             i.         The Angels waived privilege by sharing the contents of their
                                        investigation with numerous third parties. .............................. 8

                             ii.        The Angels have waived privilege by publicly leveraging the
                                        investigation’s conclusions as a sword. ................................ 12

                   B.        The Angels cannot shield under the attorney-client privilege
                             information obtained before the Angels were even a client to a yet-
                             to-hired attorney. .............................................................................. 15

         3.        The Angels have likewise misplaced their reliance on the work-product
                   doctrine. ....................................................................................................... 17

CONCLUSION ................................................................................................................. 19

CERTIFICATE OF CONFERENCE ................................................................................ 21

CERTIFICATE OF SERVICE .......................................................................................... 21




                                                                 ii
   Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                                      Page 4 of 25 PageID 328


                                           TABLE OF AUTHORITIES

Federal Cases                                                                                                            Page(s)

Adams v. Memorial Herman, 973 F.3d 343 (5th Cir. 2020) ..................................... 7, 8, 18

Doe 1 v. Baylor Univ., 320 F.R.D. 430 (W.D. Tex. Aug. 11, 2017) ................................. 13

Electro Sci. Indus., Inc. v. Gen. Scanning, Inc., 175 F.R.D. 539 (N.D. Cal. 1997) .......... 14

Hodges, Grant & Kaufmann v. United States, 768 F.2d 719 (5th Cir. 1985) ................... 16

In re Target Tech. Co. LLC, 208 F. App’x 825 (Fed. Cir. 2006) ...................................... 13

Nance v. Thompson Med. Co., 173 F.R.D. 178 (E.D. Tex. 1997)....................................... 9

Nguyen v. Excel Corp., 197 F.3d 200 (5th Cir. 1999) ................................................... 8, 10

S.E.C. v. Brady, 238 F.R.D. 429 (N.D. Tex. Oct. 16, 2006) ......................................... 9, 10

United States v. Arditti, 955 F.2d 331 (5th Cir. 1992) ........................................................ 6

United States v. El Paso Co., 682 F.2d 530 (5th Cir. 1982) ....................................... 7, 8, 9

United States v. Nixon, 418 U.S. 683 (1974)................................................................... 6, 7

United States v. Paulus, 952 F.3d 717 (6th Cir. 2020) ...................................................... 11

Upjohn Co. v. United States, 449 U.S. 383 (1981) ....................................................... 7, 17

Willy v. Admin. Rev. Bd., 423 F.3d 483 (5th Cir. 2005) .................................................... 12


Federal Statutes and Rules

Fed. R. Evid. 613 ................................................................................................................. 7




                                                                 iii
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                 Page 5 of 25 PageID 329


            GOVERNMENT’S MOTION TO COMPEL PRODUCTION OF
           MATERIALS AND INFORMATION DEMANDED BY SUBPOENA

       The United States served Angels Baseball, LP, with a subpoena pursuant to

Federal Rule of Criminal Procedure 17(c).        The subpoena made clear what the Angels

were to produce and when, and it gave the organization weeks to comply.            The Angels

refuse to do so.

       First, the Angels misframed the government’s subpoena, claiming—errantly and

despite its plain language—that it sought only the fruits of their internal investigation into

the death of T.S., not—as it did—all information in the Angels’s possession about illegal

drug-dealing in their organization.     Next, the Angels relied on that erroneous

construction as a basis to claim that every single responsive document was cloaked in the

attorney client privilege, protected by the work-product doctrine, and not subject to

subpoena under Rule 17.       And the Angels “requested” that the subpoena be withdrawn

entirely.   Only after the government made clear its intent to enforce the lawful subpoena

did the Angels produce a skeletal privilege log and two documents.          But that production

(a) proved baseless their initial assertions of total privilege, (b) still fell far short of what

the subpoena demanded, and (c) revealed that the Angels had probably waived their

attorney-client privilege, even as to their internal investigation, by sharing information

about it with several third parties.   In addition to those waivers, the Angels waived

privilege again by discussing the investigation, its topics, and its conclusions in a press

release.

       Because the Angels have failed to fully comply with a lawful court order (or

sought to quash it), the government now moves this Court to compel the Angels to
                                                1
     Case 4:20-cr-00269-Y Document 37 Filed 08/23/21          Page 6 of 25 PageID 330


comply with the subpoena.     Specifically, the government requests an order requiring

that the Angels produce “any and all documents, records, reports, and information made,

commissioned, or obtained by Angels Baseball, LP regarding the distribution of drugs by

any Angels Baseball, LP employees or contractors or otherwise within the organization.”

And the government requests that this Court order the Angels to comply before Eric

Kay’s trial, which is set for October 4, 2021.   More specifically, the government

respectfully requests that the Court order compliance no later than Monday, August 30,

2021. The Court should so order for the reasons that follow.

1.      The United States subpoenas the Angels to produce documents at the trial of
        Eric Kay.

        T.S. pitched for the Angels. On the afternoon of July 1, 2019, T.S. was found

dead in a hotel room in Southlake, Texas.    T.S. died from overdosing on a mix of drugs,

including fentanyl; but for the fentanyl, however, he would have survived.     A federal

grand jury later returned an indictment against Eric Kay for providing that fentanyl to

T.S. (See Dkt. No. 12 (charging Kay with conspiracy to possess a controlled substance

and distribution of a controlled substance resulting in death and serious bodily injury).)

        More than five months after T.S. was found dead, the Angels retained a law firm,

Bird Marella, “to provide legal advice regarding all legal matters, including any potential

litigation, related to the death of [T.S.]” (Appendix 8.)   Bird Marella went on to

conduct an internal investigation, in which the firm “review[ed] certain documents” and

“interview[ed] certain current and former Angels employees.”      (Appendix 8 (emphasis

added).)   Bird Marella then provided its conclusions to the Angels.    (Appendix 8.)

The Angels, in turn, released to the press a statement about the internal investigation’s
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     Case 4:20-cr-00269-Y Document 37 Filed 08/23/21          Page 7 of 25 PageID 331


topics and its conclusions.    See https://www.mlb.com/amp/press-release/press-release-

angels-statement-x3235.html.      Meanwhile, the United States prepared for its criminal

trial against Kay.

        With Kay’s trial set to begin on August 16, 2021, (see Dkt. No. 23), the United

States served a subpoena on Angels, LP.       The subpoena was issued pursuant to Federal

Rule of Criminal Procedure 17(c) and commanded the Custodian of Records for Angels

Baseball, LP, to produce the following: “Any and all documents, records, reports, and

information made, commissioned, or obtained by Angels Baseball, LP regarding the

distribution of drugs by any Angels Baseball, LP employees or contractors or otherwise

within the organization.”     (Appendix 2.)   The subpoena was clear as to when the

Angels were required to comply—no later than August 16, 2021 at 1:30 p.m.

(Appendix 2.) And the subpoena was clear as to what the Angels were commanded to

produce—any and all documents, records, reports, and information the Angels had made

or obtained regarding the distribution of drugs by their employees or contractors.

(Appendix 2.)

2.      The Angels stall before ultimately refusing to comply with the subpoena.

        The Angels agreed to accept email service of the subpoena, and the subpoena was

properly served on July 27, 2021.    (Appendix 1.)

        Almost immediately, the Angels began to stall. On a call on July 28, 2021,

counsel for the Angels (Bird Marella), explained that the Angels first wanted to provide

the government with the “benefits” of the Angels’s “legal analysis” regarding the



                                               3
    Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                  Page 8 of 25 PageID 332


subpoena.     A lawyer for Bird Marella indicated that she could do so by that Friday (July

30), but was later forced to postpone providing her analysis due to an illness.

       About a week later, Bird Marella—on behalf of the Angels—sent the government

a letter requesting that the United States withdraw its subpoena.          (See Appendix 7-17.)

That letter errantly framed the scope of the government’s subpoena—claiming that it

compelled “all records of any internal investigation conducted by” Bird Marella into “the

death of [T.S.], or related to [H.V.]”1      (Appendix 7.) And the letter claimed that all of

the records responsive to that request were shielded from discovery by the attorney-client

privilege, the work-product doctrine, and not discoverable under Rule 17 in any event.

(Appendix 17.)

       The government wrote the Angels to correct their demonstrated errors of fact.

(Appendix 15-17.)       The government explained that: (1) the subpoena was to the Angels,

not Bird Marella; and (2) while documents produced by the internal investigation into the

death of T.S. and/or related to H.V. may indeed be responsive to the subpoena, the

subpoena commanded additional classes of documents—documents in the Angels’s

possession about illegal drug distribution within the organization, whether those

documents were created before, during, or after the internal investigation.            And the

government made clear that Bird Marella had misframed the subpoena’s scope by placing

non-existent limitations on the documents it compelled.           (Compare Appendix 7 (“[W]e

understand the subpoena to be requesting all records of any internal investigation


1
  The Angels had earlier disclosed to the government the existence of an anonymous complaint about a
then-employee mailed to the Angels on or about October 23, 2019, and received by the Angels on or
about October 25, 2019.
                                                  4
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21              Page 9 of 25 PageID 333


conducted by our firm on behalf of the Angels”), with Appendix 15-16 (“While you have

indicated this request would encompass documents related to the internal investigation,

we note it would also encompass any other documents related to drug distribution within

the Angels organization, including any internal information that was gathered or

communicated by or within the Angels organization itself.”) (emphasis added).)        The

letter concluded by confirming that the government would not withdraw the subpoena.

          In response, the Angels asked for additional time to comply with the subpoena

and/or produce a privilege log. The government extended the deadline to Wednesday,

August 18, 2021.      At the end of that day on August 18, 2021, the Angels produced two

things.     First, the Angels produced two declarations.   Because both were apparently

compiled as part of the internal investigation, that production belied the Angels’s initial

assertion of privilege over every document related thereto.    Second, the Angels

produced a privilege log.     It was skeletal and apparently missing entries. For example,

the log was silent as to any discussions—about T.S.—between the Angels and the

Commissioner of Major League Baseball, and as detailed below the government has

learned that the Angels and Commissioner’s Office have communicated on this topic.

In the course of that production, the Angels reiterated their position that all records

responsive to this subpoena—except the two declarations—are protected by the attorney-

client privilege and work product doctrine.

          The Angels have failed to comply with a lawful order.   Therefore, the

government now moves this Court to compel the Angels to do so.



                                               5
     Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                    Page 10 of 25 PageID 334


                              ARGUMENT AND AUTHORITIES

         Governing Law

         The United States requested—and this Court issued—the subpoena pursuant to

Federal Rule of Criminal Procedure 17(c).             Such a subpoena “may be quashed if [the

production of documents] would be unreasonable or oppressive, but not otherwise.”

United States v. Nixon, 418 U.S. 683, 698-99 (1974) (internal quotation marks omitted).

This Court has broad discretion to enforce a pretrial subpoena, and its decision will not be

overturned unless it is arbitrary or lacks manifest record support.              See id. at 702.

1.       The government can easily carry its burden under Rule 17.

         The party that seeks to gain access to materials under Rule 17 must show only that

the subpoenaed documents are relevant, admissible, and requested with adequate

specificity.2    United States v. Arditti, 955 F.2d 331, 345-46 (5th Cir. 1992) (discussing

United States v. Nixon, 418 U.S. 683 (1974)).

         The requested documents are admissible.             Either party may call as a fact witness

a person with knowledge of Kay’s history of abusing opioids and dealing drugs and/or

Kay’s actions after T.S.’s death—and to what he or she said on those topics in response



2
  In its letter setting out its legal analysis, Bird Marella argued that the subpoena was “improper” because
it sought information that was inadmissible at trial under the Federal Rules of Evidence. While there is
no merit to any argument about admissibility, Bird Marella likely focused their objection there because
the subpoena seeks specific, relevant evidence. The United States is proceeding to trial against Kay for
delivering the fentanyl that killed Angels’s pitcher T.S. and for joining a conspiracy to traffic drugs.
Documents or electronically stored information in the Angels’s possession that discuss Kay’s history as
an abuser of opioids, Kay delivering drugs to members of the Angels’s organization, including T.S., and
Kay’s actions in the days and weeks that followed T.S.’s death are relevant. Similarly, documents or
electronically-stored information in the Angels’s possession discussing people other than Kay unlawfully
distributing drugs to players or others in the organization would almost certainly prove relevant to Kay’s
defense. And the facts that underly the conclusions of the Angels’s internal investigation into T.S.’s
overdose death will be the same facts that are at the heart of this criminal case.
                                                     6
     Case 4:20-cr-00269-Y Document 37 Filed 08/23/21             Page 11 of 25 PageID 335


to the Angels’s internal investigation.    And either party may call as a trial witness a

declarant who told investigators that someone other than Kay was dealing drugs to

Angels’s players or employees.      Moreover, at a minimum, either party could impeach

trial witnesses with any inconsistent statements he or she made during the course of the

Angels’s internal investigation.    See Fed. R. Evid. 613; see also Nixon, 418 U.S. at 701-

02 (explaining that prior statements can be subject to a subpoena under Rule 17 where

those statements can be used for impeachment).

         In sum, the United States has discharged its burden to specifically identify

documents and information that is relevant and admissible.

2.       The Angels have misplaced their reliance on the attorney-client privilege,
         which the Angels have likely waived in any event.

         The attorney-client privilege protects both “the giving of professional advice to

those who can act on it” and “the giving of information to the lawyer to enable him to

give sound and informed advice.”       Upjohn Co. v. United States, 449 U.S. 383, 389

(1981). The privilege extends to corporations and to people.         Adams v. Memorial

Herman, 973 F.3d 343, 349 (5th Cir. 2020).         “Communication between employees and

the corporation’s attorney is privileged if it is made ‘at the direction of corporate

superiors in order to secure legal advice from counsel’ concerning ‘matters within the

scope of the employees’ corporate duties.”      Id. (quoting Upjohn, 449 U.S. at 389).

         But there are important limitations on the privilege.    First, “the attorney-client

privilege may not be tossed as a blanket over an undifferentiated group of documents.”

United States v. El Paso Co., 682 F.2d 530, 538-39 (5th Cir. 1982).        Second, “[t]he

attorney-client privilege only protects disclosure of communications; it does not protect
                                               7
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21             Page 12 of 25 PageID 336


disclosure of the underlying facts.”    Adams, 973 F.3d at 349.     And third, the privilege

can be waived.       See Nguyen v. Excel Corp., 197 F.3d 200, 207-08 (5th Cir. 1999).    As

noted, the Angels “requested” that the government withdraw its trial subpoena, claiming

that every single responsive document was protected by the attorney client privilege.

Not so, because the Angels have likely waived their privilege claim, and it is overbroad

in any event.

       A.       To the extent that the Angels assert the attorney-client privilege, this
                Court should find that the Angels waived it.

       The Angels have broadly claimed that the attorney-client privilege protects any

and all information responsive to the government’s subpoena. The government explains

below why their claim of privilege is overly broad to the point of unpersuasive and defies

common sense.        But even if the privilege did extend to every single document that the

Angels seek to shield, it is no hurdle to compliance with the government’s subpoena.

That is because the Angels have likely waived it.

                i.      The Angels waived privilege by sharing the contents of their
                        investigation with numerous third parties.

       It is Hornbook law that the privilege may be waived.       See El Paso, 682 F.2d at

538-39. “When relayed to a third party that is not rendering legal services on the

client’s behalf, a communication is no longer confidential and thus it falls outside of the

reaches of the privilege.”    Nguyen, 197 F.3d at 207-08.     Here, the Angels’s own

privilege log reflects at least two instances on which this Court might find a waiver.

       First, a lawyer from Bird Marella sent an email to Marie Garvey at

mtg@garveygroup.com providing an “update” on Bird Marella’s internal investigation of

                                               8
    Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                  Page 13 of 25 PageID 337


the death of T.S.     (Appendix 23.)       A simple internet search reveals that Ms. Garvey is

neither a lawyer nor apparently an employee of the Angels organization.                Rather, Ms.

Garvey is the lead strategist on media communications and corporate relations for a

communications-strategy firm called the Garvey group.              See https://garvgroup.com/.

Even if Ms. Garvey was never provided with a formal report or copies of the memoranda

reflecting witness interviews, a discussion of the subject matter may constitute a waiver.3

See S.E.C. v. Brady, 238 F.R.D. 429, 439-440 (N.D. Tex. Oct. 16, 2006) (“Even

disclosure of privileged information directly to a client’s independent auditor, accountant,

or tax analyst destroys confidentiality.”)       The Fifth Circuit has declined to create an

“accountant-client communications privilege,” see El Paso, 682 F.2d at 538-39, and the

government is aware of no authority extending the attorney-client privilege to a “media-

relations communications privilege.”          But see Nance v. Thompson Med. Co., 173 F.R.D.

178, 182-83 (E.D. Tex. 1997) (finding that the corporation waived its attorney-client

privilege when it copied documents to “a public relations firm acting as a consultant to

the defendant corporation.”).




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  It appears that the organization shared more than “update” with Ms. Garvey. As laid out more fully
below, Ms. Garvey later released to the press a statement on behalf of the Angels. The statement was
about the internal investigation—including its focus and bottom-line conclusions. That statement,
moreover, was widely reportedly in the media. See, e.g.,
https://www.espn.com/mlb/story/_/id/31731359/pitcher-tyler-skaggs-family-files-suits-angels-former-
employees (“The Angels released a statement, saying the lawsuits ‘are entirely without merit and the
allegations are baseless and irresponsible,’ and that they would ‘vigorously defend’ in court. ‘In 2019,
Angels Baseball hired a former federal prosecutor to conduct an independent investigation to
comprehensively understand the circumstances that led to [T.S.’s] tragic death,’ the statement read. ‘The
investigation confirmed that the Organization did not know that [T.S.] was using opioids, nor was anyone
in management aware or informed of any employee providing opioids to any player.’”).
                                                   9
    Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                Page 14 of 25 PageID 338


          With another third party, Chip Carey, the Angels apparently shared even more.

Their privilege log notes that Bird Marella sent two emails to Chip Carey (at

chipsonit@gmail.com) providing legal analysis and attaching memorandums.

(Appendix 23.) To the extent that Mr. Carey is third-party—i.e., not a part of the

Angels organization—this Court should find the privilege waived.4              See S.E.C. v. Brady,

238 F.R.D. at 439-440; see also Nguyen, 197 F.3d at 208 (“Disclosure of any significant

portion of a confidential communication waives the privilege as to the whole.”) (cleaned

up).

          In addition, the Officer of the Commissioner of Major League Baseball has

acknowledged having prior communications with the Angels on the subject of T.S.’s

death.5     And finally, the Angels met and “conferred” with Kay’s defense lawyer,

Michael Molfetta, who is purportedly willing to stipulate that the reports are not Brady

material if the government never possesses them. (Appendix 24-25 (“Relevant to that

letter, we have now had the opportunity to meet and confer with Eric Kay’s trial counsel,

Michael Molfetta, as I believe we would be required to do pursuant to Local Criminal

Rule 47.1(a), to ascertain his view with regard to whether the documents sought by your

subpoena would constitute Brady material.          Mr. Molfetta advised that he would stipulate

that records of Bird Marella’s internal investigation that have never been disclosed to the


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  At a minimum, the 2021 Angels Media Guide does not note Chip Carey as an executive or other staff
member of the Angels organization. See http://www.angelsmediaguide.com/.
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  To be sure, the Office of the Commissioner has denied receiving reports or “documents” produced
during the Angels’s internal investigation. In a recent call with the government, counsel for the
Commissioner’s Office stated that her client would not answer questions about the content of those
communications unless compelled to do so. She further stated that the Office of the Commissioner
would refuse to provide the name of a person with knowledge of those communications or discussions
unless compelled to do so by the Court.
                                                 10
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21             Page 15 of 25 PageID 339


government and are not in the government’s possession are not within the scope of the

government’s Brady obligations.”).)     A lawyer at Bird Marella represented to the

government that this “conference” occurred pursuant to this Court’s Local Rule 47.1(a),

which requires parties to motions to conference on those affected by motions.      That is so

even though Bird Marella did not confer with the government regarding the same

motion—let alone filed any such motion necessitating that conference.

       Irrespective of Bird Marella’s representations that Mr. Molfetta has agreed that

such information does not constitute Brady material, Kay may be able to challenge any

conviction(s) on appeal on the basis that his rights under due process were violated if the

Court prevented Kay from discovering materially exculpatory information.         See United

States v. Paulus, 952 F.3d 717, 722-28 (6th Cir. 2020).     In Paulus, for example, the

district court barred the government from disclosing to the defendant evidence that a

third-party claimed was protected by privilege.    Id. at 722. On appeal, the Sixth

Circuit reversed the defendant’s conviction because he was denied access to materially

exculpatory evidence—a Constitutional violation.      Id. at 728 (“We do sympathize with

the prosecution, because we recognize that the government believed it had an obligation

to disclose the Shields Letter to Paulus and did not do so solely because of the district

court’s order.   But irrespective of the good faith or bad faith of the prosecution, the

failure to disclose favorable, material evidence to the defense violates due process.”).

(cleaned up).    While Bird Marella and Mr. Molfetta may agree that the government has

no obligation to disclose evidence never in its possession, the due process concerns that



                                              11
    Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                  Page 16 of 25 PageID 340


animated the decision in Paulus are implicated here, where a third-party has claimed

privilege over evidence that may have proved exculpatory at Kay’s trial.

          In any event, to the extent that the Angels communicated the content of those

reports to Ms. Garvey, Mr. Carey, the Commissioner (or some person in the

Commissioner’s Office), or to Mr. Molfetta, they have almost certainly waived their

claim of attorney-client privilege over them.

                  ii.    The Angels have waived privilege by publicly leveraging the
                         investigation’s conclusions as a sword.

          There is a second basis on which to find waiver: The Angels used a press release

about the internal investigation as a public-relations sword.          “[W]hen a party entitled to

claim the attorney-client privilege uses confidential information against his adversary (the

sword), he implicitly waives its use protectively (the shield) under that privilege.”            Willy

v. Admin. Rev. Bd., 423 F.3d 483, 497 (5th Cir. 2005).

          Here, the Angels used as a sword the internal investigation’s findings and

conclusions. The sword took the form of a statement, which the organization released to

the press and which was widely cited in the media.6            Specifically, the press release

revealed: (1) “[i]n 2019, Angels Baseball hired a former federal prosecutor to conduct an

independent investigation to comprehensively understand the circumstances that led to

[T.S.’s] tragic death;” (2) “[t]he investigation confirmed that the Organization did not

know that [T.S.] was using opioids;” and (3) the investigation further confirmed that no




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    See https://www.mlb.com/amp/press-release/press-release-angels-statement-x3235.html.
                                                   12
    Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                 Page 17 of 25 PageID 341


one in the Angels’s “management [was] aware or informed of any employee providing

opioids to any player.”7

        That statement lifted the lid off the existence of the investigation and its findings

and conclusions.      “The exact contents of the communications need not be revealed to

constitute waiver.”     Doe 1 v. Baylor Univ., 320 F.R.D. 430, 440 (W.D. Tex. Aug. 11,

2017); see also id. (collecting cases).      The Angels’s press release leaves no doubt about

the subject of the communications between the Angels and Bird Marella.                It reveals the

type of information the Angels provided to Bird Marella, and it reveals the content of

Bird Marella’s communications to the Angels.            Therefore, the organization waived its

attorney-client privilege with regards to the internal investigation’s (1) scope, (2)

conclusions about T.S.’s use of opioids, and (3) conclusions about former employees

(like Kay) providing opioids to players.        “It is enough that the [Angels] selectively

disclosed confidential attorney-client communications publicly to warrant a finding that it

waived the attorney-client privilege with respect to those communications as a whole.”

Id.

        Caselaw supports this conclusion.        For example, in In re Target, Target (a

technology company) put in a sales letter the following statement: “I also asked my

patent attorney to conduct a search in the U.S. patent literature, and no potential

infringement was found.”        In re Target Tech. Co. LLC, 208 F. App’x 825, 825-26 (Fed.

Cir. 2006).    By disclosing that information publicly, the district court found, Target had



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  See https://spectrumlocalnews.com/tx/south-texas-el-paso/news/2021/06/30/skaggs--family-files-
lawsuits-in-texas--california-for-negligence.
                                                  13
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21             Page 18 of 25 PageID 342


waived its attorney-client privilege.   Id. at 826. Target tried to have the district court

reversed by mandamus, but the United States Court of Appeals for the Federal Circuit

found no error. Even though Target’s disclosure did not reveal the contents of its

communication, it revealed the lawyer’s conclusion—and that was enough to waive the

privilege.    Id. at 827 (affirming the district court’s conclusion of “waiver based on an

extrajudicial disclosure that revealed the attorney’s conclusion, but did not reveal the

details of the privileged communication”).

       And where an organization releases a press release that voluntarily discloses a

substantive component of a communication from an organization’s lawyer to the

organization, the organization has waived the privilege.     Electro Sci. Indus., Inc. v. Gen.

Scanning, Inc., 175 F.R.D. 539, 543 (N.D. Cal. 1997) (finding waiver where a “News

Release” disclosed “the bottom line of the lawyer’s opinion, his conclusion, [and] the

ultimate outcome of his legal reasoning.”).    That is exactly what happened here.

Following Bird Marella’s internal investigation, the lawyers conducting it told their client

that the investigation had found that the Angels did not know that T.S. was using opioids,

nor was anyone in management aware or informed of any employee providing opioids to

any player.    The Angels then released the content of that communication in a press

release. See https://www.mlb.com/amp/press-release/press-release-angels-statement-

x3235.html (“In 2019, Angels Baseball hired a former federal prosecutor to conduct an

independent investigation to comprehensively understand the circumstances that led to

[T.S.’s] tragic death.   The investigation confirmed that the Organization did not know

that Tyler was using opioids, nor was anyone in management aware or informed of any

                                              14
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21            Page 19 of 25 PageID 343


employee providing opioids to any player.”).      The Angels thereby waived their claim of

privilege.

       In sum, by publicly releasing a statement revealing the topics of the

communications between the Angels and its outside counsel, the Angels waived their

privilege on those subjects.

       B.     The Angels cannot shield under the attorney-client privilege
              information obtained before the Angels were even a client to a yet-to-
              hired attorney.

       Even if the Angels organization never waived privilege (it did), the privilege does

not extend to all of the documents responsive to the government’s subpoena.         The

government’s subpoena commanded the Angels’s production of all documents that relate

to unlawful drug distribution within the organization.   The subpoena would thus include

documents or information in the Angels’s possession that were created before the

organization ever thought to conduct an internal investigation into T.S.’s death.     If the

Angels attempt to throw the blanket of attorney-client privilege over all of that

information, this Court should reject that approach.

       T.S. was found dead on July 1, 2019. Per their privilege log, the Angels first

communicated with outside counsel about that death nearly 90 days later—on September

24, 2019.    (Appendix 18.) And they did not engage Bird Marella to conduct its

internal investigation into T.S.’s death until “on or about December 2019.” (Appendix

8.)   But the Angels have refused to produce any documents—even those created after

T.S. died but before the organization began its internal investigation.   The Angels have

done so by misframing the scope of subpoena, claiming that it seeks only information

                                             15
    Case 4:20-cr-00269-Y Document 37 Filed 08/23/21                   Page 20 of 25 PageID 344


about the internal investigation and strategically reading out its request for documents or

information made or obtained before Bird Marella was even engaged.8

        Put simply, it strains credulity to accept any assertion that the Angels’s

organization has not a single document, record, or report for months after of one of its

pitchers overdosed and died on a trip taken by the team; for months after Kay confessed

to another Angels employee that he was in T.S.’s room late on June 30, 2019, and

witnessed T.S. ingesting drugs; and for weeks after learning about allegations of drug

distribution by employee(s) within the organization.            That is especially so given the

significant media spotlight that shone on the death—and on the Angels—in the days,

weeks, and months that followed T.S.’s death.9            In the extremely likely event that such

records or documents do exist, they are responsive to the United States’s trial subpoena.

They cannot—by definition—be protected by a privilege that had yet to come into

existence when they were made or obtained.              See Hodges, Grant & Kaufmann v. United

States, 768 F.2d 719, 721 (5th Cir. 1985) (explaining the privilege and making clear that

the “burden of demonstrating the applicability of the privilege rests on the party who

invokes it”).    And the Angels cannot protect them by claiming that they somehow later


8
  The government cured any misconception about the subpoena’s scope in its August 13, 2021, letter to
the Angels. That letter expressly corrected any misunderstanding that the subpoena was limited to
documents generated in Bird Marella’s internal investigation. (Appendix at 15-16 (“The subpoena
requests documents, records, reports, and information related to drug distribution by any Angels
employees or contractors. We did not limit it to information surrounding [T.S.]’s death or the
information received regarding [H.V.]’s drug distribution.”).) Rather, as the letter—consistent with the
subpoena’s plain language—explained, the subpoena commanded documents, records, reports, and
information related to drug distribution by any Angels employees or contractors.
9
  For example, ESPN published a story on August 30, 2019, reporting that a medical examiner had
concluded T.S. had fentanyl, oxycodone, and alcohol in his system when he died. The report further
noted that “an unnamed Angels employee was tied to an ongoing investigation by the Southlake Police
Department.” See https://www.espn.com/mlb/story/_/id/27501379/coroner-opioids-alcohol-skaggs-
system.
                                                   16
     Case 4:20-cr-00269-Y Document 37 Filed 08/23/21           Page 21 of 25 PageID 345


became privileged.     Indeed, even “[d]ocuments and materials developed by a lawyer for

use in or in anticipation of litigation are not protected by the attorney client privilege.”

Id.

         Finally, the government reiterates that the Angels cannot cloak underlying facts in

attorney-client privilege.   A fact does not become privileged just because it is

communicated to an organization’s attorney.        Upjohn, 449 U.S. at 395-96. Thus, for

example, the Angels cannot cast the privilege over the documents that Bird Marella

reviewed as part of its internal investigation.    (Appendix 11 (explaining that Bird

Marella reviewed “certain documents” as it conducted its internal investigation).)       The

existence of those documents, and the facts contained in them, are not privileged. And

because Bird Marella reviewed them in its internal investigation into the death of T.S.,

they are almost certainly responsive to the government’s subpoena, which commands the

production of same.

         Accordingly, pursuant to the subpoena, the government requests that this Court

compel the Angels to produce any document or record made or obtained by the Angels

regarding drug distribution within the Angels’s organization. At a minimum, this Court

should compel the Angels to produce those records in camera for the Court’s inspection,

so that the Court can review the materials, redact mental impressions and provide the

underlying facts and responsive portions of the documents to the United States and Kay.

3.       The Angels have likewise misplaced their reliance on the work-product
         doctrine.

         Bird Marella, on behalf of the Angels, has (1) made clear that the firm reviewed

“certain documents” as it undertook its investigation and (2) taken the indefensible
                                              17
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21            Page 22 of 25 PageID 346


position that every responsive document—including the documents that the firm

reviewed—is somehow protected by the work-product doctrine.         (Appendix at 11.)

Not so.

       Though the work-product doctrine is distinct from and broader than the attorney-

client privilege, neither doctrine shields from review the “underlying facts.”   Adams,

973 F.3d at 350.   Here, by the Angels own admission, Bird Marella reviewed “certain

documents” as it undertook an investigation into T.S.’s death.    Because Bird Marella did

not create those documents, they cannot be called Bird Marella’s work product.      And

given that those documents were germane to Bird Marella’s investigation into the death

of T.S., they are most certainly responsive to the government’s subpoena. This Court

should compel, at a minimum, the Angels to produce those documents in response.

       There are almost certainly more documents.      Indeed, the Angels have taken the

extreme position that every single document responsive to the subpoena is protected by

the work-product doctrine.    The Angels have sought to shroud in the work-product

doctrine any documents, reports, or records of communication made or obtained (even

before and) after T.S. died but before it engaged outside counsel to prepare for litigation.

Given that those documents are nothing more than facts—not a lawyer’s “research,

analysis of legal theories, mental impressions, notes, and memoranda of witnesses’

statements” deserving of protection “from an opposing counsel’s inquiries,” Adams, 973

F.3d at 349—they cannot be shielded by the work-product doctrine.

       Finally, the government notes that it has repeatedly offered the Angels the chance

of complying with its subpoena while also preserving any legitimate protection of its

                                             18
     Case 4:20-cr-00269-Y Document 37 Filed 08/23/21               Page 23 of 25 PageID 347


attorney work product.      For specific example, the government has requested that the

Angels: (1) at least provide the names of the witnesses who it interviewed as part of its

internal investigation into T.S.’s death; (2) provide those documents that are responsive

to the subpoena but contain no work product; (3) scrub any potential work product and

then comply with the government’s subpoena; (4) provide the documents to a filter team

within the United States Attorney’s Office; and/or (5) provide the documents directly to

this Court for it to review.    The Angels’s response has been to misframe the scope of the

government’s subpoena, produce only a skeletal—and partial10—privilege log, and to

claim that every, single responsive document is protected by the work-product doctrine.

As a result, this Court should compel the Angels to comply with the subpoena.

                                         CONCLUSION

         This government respectfully moves this Court for an order compelling the Angels

to comply fully with the government’s subpoena. Given the length of time that the

Angels have been aware of this subpoena and their decision to protract efforts to obtain

the information it compels, the government respectfully requests that the Court order

compliance no later than Monday, August 30, 2021, and enter an order expediting any

related briefing.

         Alternatively, to the extent the Court wishes to review in camera any responsive

document purportedly protected by either privilege, the government respectfully moves

the Court to order production no later than Monday, August 30, 2021.             Finally, to the


10
  For example, as noted above, the Office of the Commissioner for Major League Baseball recently
admitted that the Commissioner had discussions with the Angels regarding the death of T.S. The Angels
omitted any such conversation or communications from its privilege log.
                                                 19
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21            Page 24 of 25 PageID 348


extent that the Court determines that a hearing is necessary to resolve any issues of fact,

the government respectfully requests a hearing as soon as practicable.



                                                  Respectfully submitted,

                                                  PRERAK SHAH
                                                  Acting United States Attorney


                                                  s/ Lindsey Beran
                                                  LINDSEY BERAN
                                                  Assistant United States Attorney
                                                  Texas State Bar No. 24051767
                                                  1100 Commerce Street, Third Floor
                                                  Dallas, Texas 75242-1699
                                                  Telephone: 214-659-8600
                                                  Facsimile: 214-659-8805
                                                  Email: Lindsey.Beran@usdoj.gov

                                                  s/ Errin Martin
                                                  ERRIN MARTIN
                                                  Assistant United States Attorney
                                                  Texas State Bar No. 24032572
                                                  1100 Commerce Street, Third Floor
                                                  Dallas, Texas 75242-1699
                                                  Telephone: 214-659-8600
                                                  Facsimile: 214-659-8805
                                                  Email: Errin.Martin@usdoj.gov

                                                  s/ Jonathan Bradshaw
                                                  Jonathan Bradshaw
                                                  Assistant United States Attorney
                                                  Colorado Bar No. 43838
                                                  1100 Commerce Street, Third Floor
                                                  Dallas, Texas 75242
                                                  Telephone: (214) 659-8600
                                                  E-mail: jonathan.bradshaw@usdoj.gov




                                             20
  Case 4:20-cr-00269-Y Document 37 Filed 08/23/21             Page 25 of 25 PageID 349



                          CERTIFICATE OF CONFERENCE

       I certify that on August 23, 2021, I conferred with Ariel A, Neuman, counsel for

the Angels, who noted that the Angels were opposed to this motion.

                             CERTIFICATE OF SERVICE

       I certify that on August 23, 2021, I filed this notice with the clerk of court for the

U.S. District Court, Northern District of Texas through the electronic filing system which

will generate service to all counsel of record.

                                                   s/ Jonathan Bradshaw
                                                   Jonathan Bradshaw
                                                   Assistant United States Attorney




                                              21
